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OXFELD COHEN, PC
60 Park Place, 6" Floor
Newark, New Jersey 07102
(973) 642-0161

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT

 

 

 

 

DISTRICT OF NEW JERSEY
DISTRICT 1199J, NEW JERSEY HEALTH
CARE EMPLOYERS PENSION FUND,
Civil Action No.:
Plaintiff,
V. COMPLAINT
AND

CORNELL CARE & REHABILITATION JURY DEMAND
CENTER,

Defendant.
I. NATURE OF CLAIM

1. Plaintiff brings this action pursuant to 29 U.S.C. 91145 of the Employee

Retirement Income Security Act (“ERISA”), 29 U.S.C. 7 1001 et seq. It seeks to enforce
obligations of the Defendant, Cornell Care & Rehabilitation Center, (“Cornell Care”), to make
unpaid payroll contributions and interest payments to Plaintiff, District 1199J, New Jersey
Health Care Employers Pension Fund (“Pension Fund”).

2. In this action, Plaintiff seeks declaratory judgment, payment of unpaid accrued
interest on the late payment of payroll contributions, liquidated damages, injunctive relief,

reasonable attorney’s fees, and such other legal or equitable relief as the Court deems necessary

and proper.
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Il. JURISDICTION

3. Jurisdiction of this Court is invoked pursuant to 29 U.S.C. § 1132 of ERISA,
entitled “Civil Enforcement,” and 29 U.S.C. § 185 of the Labor Management Relations Act
(“LMRA”). Venue properly lies in this district under ERISA, 29 U.S.C. § 1132(e)(2).

UI. PARTIES

4. Plaintiff is an employee pension plan within the meaning of ERISA. It is located
at 9-25 Alling Street, Newark, New Jersey 07102. Defendant Cornell Care & Rehabilitation
Center is an employer with a bargaining unit of employees within the meaning of the National
Labor Relations Act (“Act”), 29 U.S.C. 151 et seq., and is an employer within the meaning of
ERISA. Defendant is located at 234 Chestnut St, Union, NJ 07083.

IV. STATEMENT OF FACTS

5. Cornell Care is a participant in an Agreement and Declaration of Trust (“Trust”)

for the Pension Fund. Article I, Section 2.3 of the Trust, entitled “Employer Contributions,”

provides that:

“Each employer shall contribute to the Fund in accordance
with its obligations under the applicable Collective
Bargaining Agreement entered into with the Union. An
Employer shall not be required to make any contribution
except as provided in the Collective Bargaining Agreement
to which the Employer is a party. The contributions shall
be paid to the Fund or such other depository as the Trustees
shall designate only by check, bank draft, money order, or
other negotiable recognized written method of transmitting
money. The contributions shall be submitted together with
forms prepared and approved by the Trustees and shall be
made periodically at such times as the Trustees shall
specify by Rules and Regulations and as may be provided
in the applicable Collective Bargaining Agreement. Upon
full payment of contributions to the Fund, all
responsibilities of the Employer for each contribution shall
cease, and the Employer shall have no responsibilities for
the acts of the Trustees, nor shall an Employer be obliged
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6.

7.

follows:

8.

to see to the application of any funds or property of the
Trust or to see that the terms of the Trust have been
complied with. Anything hereunder to the contrary
notwithstanding, the Trustees shall have the right to
establish different plans of benefits for different Employer
contribution rates.

Article I, Section 2.4 of the Trust, entitled “Non-payment,” provides that:

“No employer shall be responsible for the contributions or
other obligations of any other Employer. The non-payment
by an Employer shall not relieve any other Employer or
Employers from its or their obligations to make payments.”

Article I, Section 2.5 of the Trust, entitled “Power to Collect,” provides as

“The Trustees may compel and enforce payment of the
Employer Contributions through arbitration before an
arbitrator mutually selected by the alleged delinquent
Employer and the Trustees from a panel provided by the
New Jersey State Board of Mediation. The Union and the
New Jersey Employers may select a permanent Arbitrator
to serve for a term of two (2) years. The cost of said
arbitration is to be borne equally by the delinquent
Employer and the Fund, unless the Arbitrator shall find that
the delinquent Employer has unreasonably withheld
payment, in which case the fee of the Arbitrator shall be
paid by the delinquent Employer. The Trustees may also
compel and enforce payment of the Employer
Contributions in any action or proceeding brought before a
court of competent jurisdiction. The Trustees are further
authorized to adopt such reasonable rules for
discontinuance and reinstatement of benefits as they may
deem necessary.”

District 1199J and Cornell Care, are parties to a collective bargaining agreement

(“Agreement”) for a specified bargaining unit. The article, concerning contributions to the Fund,

provides in part as follows:

I. Effective with the payroll commencing on July 1,
2007, the contribution shall consist of a sum equal to seven
and sixty nine hundredths (7.69%) percent of the gross
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payroll of the Employees for the preceding month exclusive
of amounts earned by Employees for the first two (2)
months following the beginning of their employment.

2. Payment shall be due no later than thirty (30) days
following the payroll month on which they are based. By
way of example, a January contribution shall be based on
the payroll for the month of December and shall be made
no later than the 30" day of January. Such payments shall
be used by the Trustees of the Pension Fund for the purpose
of providing Pension or Retirement benefits for Employees
as the Trustees of the said Fund may from time to time
determine. In the event the trustees approve a lower
contribution rate during the life of the Agreement, the rate
shall be reduced by the amount set by the trustees.

3. If a payment or payments are not made in
compliance with Section 1 above, the Employer shall, from
and after the due date thereof, and until payment of arrears
is made, pay interest on such arrears at the rate of
Citibank’s prime plus two (2%) percent per annum or the
maximum permitted by law, whichever is less.

4, The District 1199J New Jersey Pension Fund shall
be held and administered by the terms and provisions of the
Agreement and Declaration of Trust and any amendments
thereof, which provide for equal representation by the
Union and the Employer contribution to said Fund and that
any dispute whatsoever that may arise or deadlock that may
develop among or between said trustees shall be submitted
to arbitration before an Arbitrator or Umpire, except as may
be otherwise provided for in said Agreement and
Declaration of Trust and his/her decision shall be final and
binding.

5. Such Fund at all times shall take whatever action is
necessary to secure and retain approval of the U.S. Internal
Revenue Service as a qualified pension fund.

6. An independent audit of the District 1199J New
Jersey Pension Fund shall be made annually and a
statement of the results thereof shall be furnished to the

Employer.
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9. Cornell Care is delinquent in its contributions for the months of May 2019 in the
amount of $22,165.22, June 2019 in the amount of $15,076.48, and July 2019 in the amount of
$17,972.51, for a total of $55,214.21. Also, Cornell has not made contributions for January 2019
for a member that was left off the original report in error in the amount of $186.51 and for
February 2019 for a member that was left off the original report in error in the amount of
$186.51 for a total of $373.02. The total owed in payroll contributions is $55,587.23. The
defendant was notified by the Pension Fund of its delinquency and it did not cure the arrears
effective this date.

10. Cornell Care is delinquent in providing contribution reports for the periods of
May through August 2019. The defendant was notified of its delinquency and it has not provided
the contribution reports effective this date.

11. Cornell Care is delinquent for accrued interest for late payments of payroll
contributions for March 2019 is due in the amount of $66.27 and for August 2019 in the amount
of $65.46, for a total of $131.73. The defendant was notified of its delinquency and it did not
cure the arrears effective this date.

Vv. COUNT ONE

12. 29 U.S.C. J 1145 of ERISA requires an employer to comply with its obligations

to contribute to a multi-employer pension plan. Section 1145 provides as follows:
“Every employer who is obligated to make contributions to
a multi-employer plan under the terms of the plan, or under
the terms of a collectively bargained agreement shall, to the
extent not inconsistent with law, make such contributions

in accordance with the terms and conditions of such plans
or such agreement.”
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13. The contractual obligations of Cornell Care are found in the Trust, and in the
Agreement. Cornell Care has not made contributions under the terms of the Trust, or under the
terms of the Agreement.

14. Cornell Care is delinquent in its payroll contributions for the months of May 2019
in the amount of $22,165.22, June 2019 in the amount of $15,076.48, and July 2019 in the
amount of $17,972.51, for a total of $55,214.21. Also, Cornell has not made contributions for
January 2019 for a member that was left off the original report in error in the amount of $186.51
and for February 2019 for a member that was left off the original report in error in the amount of
$186.51 for a total of $373.02. The total owed in payroll contributions is $55,587.23.

15. Cornell Care is delinquent for accrued interest for late payments of payroll
contributions for March 2019 is due in the amount of $66.27 and for August 2019 in the amount
of $65.46, for a total of $131.73.

16. By letter dated October 7, 2019, Cornell was notified of the delinquency on the

payment of payroll contributions and accrued interest and no payments have been made to date.

VII. DEMAND FOR JUDGMENT

WHEREFORE, Plaintiff respectfully requests that this Court:

1. Enter judgment that the failure to make appropriate accrued interest on the late
payment of contributions into the Fund scmativnten a violation of ERISA, the collective
bargaining agreement, the Agreement and Declaration of Trust;

2. Enter judgment that the failure to make appropriate payment of payroll
contributions into the Fund constitutes a violation of ERISA, the collective bargaining

agreement, the Agreement and Declaration of Trust
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3 Require the full payment of unpaid payroll contributions to the Fund;
4. Require the full payment of unpaid accrued interest to the Fund;
5. Require the payment of an additional amount equal to the greater interest or

Liquidated damages;
6. Require the issuance of an injunction compelling Defendant to satisfy the
demands made by Plaintiff, and requiring it to make all appropriate contributions;
7. Require the payment of reasonable attorney’s fees and costs of suits; and

8. Require such other legal or equitable relief as the Court deems necessary.

Respectfully submitted,
OXFELD COHEN, PC

BY: (An } NY
ARNOLD SHEP COHEN
DATED: December 3, 2019

CLAIM FOR JURY TRIAL

Plaintiff claims its right to a trial by jury on all issues.

Respectfully submitted,
OXFELD COHEN, PC

BY: lh aA IA.

DATED: December 3, 2019 ARNOYD SHEP COHEN
